                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                            Plaintiff,
v.                                           CASE NO. 1:14-CV-954

THE UNIVERSITY OF NORTH
CAROLINA et al.,
                            Defendants.



             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                    (ORAL ARGUMENT REQUESTED)

       NOW COME Defendants, by and through undersigned counsel, and hereby move

for summary judgment on the grounds that there is no genuine issue of material fact and

Defendants are entitled to judgment as a matter of law.

       In support of its motion, the University relies on its memoranda of law and the

declarations, deposition testimony, and exhibits filed herewith.

       WHEREFORE, Defendants respectfully request that the Court:

          1. Grant its motion for summary judgment;

          2. Enter judgment for Defendants on all of the Plaintiff’s claims; and

          3. Grant the University such other relief as may be appropriate.




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 Respectfully submitted this 18th day of January, 2019.

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                            CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing Defendants’ Motion for Summary

Judgment via the Court’s electronic filing systems, pursuant to the Electronic Filing

Procedures, on all attorneys of record who have entered an appearance by ECF in this

matter.

       This 18th day of January, 2019.

                                                        /s/ Patrick Fitzgerald
                                                        Patrick Fitzgerald




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